                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION

                                     DOCKET NO. 2:05CR3

UNITED STATES OF AMERICA,                        )
                                                 )
                v.                               )
                                                 )                    FINAL
EFRAIN GALINDO-XOCHIHUA                          )             ORDER OF FORFEITURE
MARCOS GALINDO XOCHIHUA                          )
                                                 )
                Defendants.                      )

         On April 26, 2005, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendants’ pleas of guilty to

Count One in the Bill of Indictment. In that Count, the defendants were charged with conspiracy

to possess with intent to distribute methamphetamine in violation of 21 U.S.C. §841(a)(1) and

§846.

         On May 26, June 2, and June 9, 2005, the United States published in the Sylva Herald, a

newspaper of general circulation, notice of this forfeiture and of the intent of the government to

dispose of the forfeited property in accordance with law, and further notifying all third parties of

their right to petition the Court within thirty days for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such claims have been

filed.

         It is therefore ORDERED:

         In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final. All right, title, and interest in the following properties, whether real, personal, or mixed,



                                                     1


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has therefore been forfeited to the United States for disposition according to law:

       – $15,340.00 in United States currency;

       – $1,376.25 in United States currency;




                                                 Signed: January 31, 2006




                                                 2


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